                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Jaleel Kevin Stallings,                    Case No:    21-CV-02395 (ADM/TNL)


              Plaintiffs,                              ROBERT KROLL’S
                                                    MEMORANDUM OF LAW IN
                                                   SUPPORT OF HIS MOTION TO
v.                                                    DISMISS PLAINTIFF’S
                                                    COMPLAINT PURSUANT TO
Andrew Bittell, et al.                                   RULE 12(B)(6)

              Defendants.



                                    INTRODUCTION

       The instant case is a claim by a male whose injuries incurred immediately after he

fired an assault rifle at a van full of police officers on May 30, 2020 in Minneapolis,

Minnesota. Defendant Robert Kroll (“Defendant Kroll”) was not in the van, and Plaintiff

fails to allege any conduct by Defendant Kroll which would cause liability to Defendant

Kroll. As such, Plaintiff’s claims against Defendant Kroll must be dismissed.

                                          FACTS

       The Complaint describes events that took place on or about May 30, 2020. While

the Complaint makes a number of accusations involving the MPD’s response to the

largest riot in the State’s history, the facts surrounding Mr. Stallings’s injuries are

undisputed and are what is relevant to his suit.




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        Mr. Stallings was standing in a parking lot with a group of people in violation of

the Governor’s and Mayor’s curfew orders. ECF Doc No. 1, P. 21, ¶¶ 137, 141, 143, The

Plaintiff was carrying an assault rifle. In response to police officers firing 40mm

launchers, Plaintiff raised his assault rifle, and fired a number of 7.62mm assault rifle

rounds at MPD Police Officers. Plaintiff claims that he “fired toward, but not directly at,

the van…” Id. P. 2, ¶1. Later, Plaintiff claimed, in fear of sustaining life threatening

injuries after being shot in the chest, he fired at the ground near the van. Id., p. 24 ¶¶ 157,

162. Plaintiff claims that approximately 20 seconds later, Officers began striking

Plaintiff.

        Defendant Kroll is the President of the Police Officers’ Federation of Minneapolis

(“POFM”), the Exclusive Representative of all licensed police officers employed by the

City of Minneapolis between the ranks of Police Officer and Lieutenant. The POFM is a

private non-profit corporation 1. As President of the POFM, Defendant Kroll was

contractually “relieved from [his] regularly scheduled duties to engage in Federation

activities…” and was designated to “work exclusively on Federation business on a

permanent basis (the “Full-Time Personnel”)…” 2 The City of Minneapolis and its Police

Department “shall not order Full-Time Personnel to perform duties for the Police

Department…” Id at 58. POFM directs the “activities of personnel while such personnel

are engaged in Federation business…” Id.                  Thus, the City of Minneapolis and the


1
  See Minnesota Secretary of State Business Filing,
https://mblsportal.sos.state.mn.us/Business/SearchDetails?filingGuid=b41c90d8-bad4-e011-a886-001ec94ffe7f,
(last visited December 28, 2021)
2
  See Labor Agreement, p. 57, available at https://www2.minneapolismn.gov/media/content-assets/www2-
documents/departments/wcmsp-200131.pdf (last visited December 28, 2021)

                                                      2
Minneapolis Police Department were prohibited from requiring Defendant Kroll to

perform law enforcement duties for the MPD with only a few exceptions 3. Id. Defendant

Kroll held the rank of Lieutenant from the Minneapolis Police Department, but was

designated as Full-Time personnel where he worked exclusively for POFM and was Full-

Time for POFM from 2014 through the date of his retirement. Defendant Kroll became

President of POFM through election by the POFM membership, not through any act by

the City of Minneapolis.

       On the date of Plaintiff’s alleged injuries, Defendant Kroll was designated as Full-

Time Personnel of the POFM, working exclusively on POFM business. As a Full-Time

Personnel of the POFM, Defendant Kroll supervised and directed other POFM personnel

engaged in Federation business and held no supervisory role or responsibility within the

Minneapolis Police Department.

       Plaintiff’s sole allegation to support its claim against Defendant Kroll is an email

Defendant Kroll sent to the members of the POFM after Plaintiff sustained his injuries.

The Complaint alleges Plaintiff was injured on May 30, 2020.             Defendant Kroll’s

statement was issued on June 1, 2020, one day after Plaintiff’s alleged injury had already

occurred. Defendant Kroll was not present nor was he supervising any Minneapolis

Police Department personnel at the time of Plaintiff’s alleged injury.



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  “[T]raining required for such Full-Time Personnel to retain their POST license and/or
good standing as employees of the Minneapolis Police Department; being interviewed
under Garrity by Internal Affairs; or required participation in criminal or civil litigation
relating to duties performed by the employee as a Minneapolis Police officer (collectively
the “Mandatory MPD Duties”).”

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      Plaintiff’s sole claim against Defendant Kroll is Count 5, Conspiracy to Interfere

with Assertion of Constitutional Rights. Id., p. 67. The Complaint contains no factual

allegations regarding Count 5 as to Mr. Kroll. Rather, Count 5 contains mere legal

conclusions.

                                         ISSUES

   1. Whether the Complaint should be dismissed for failure to state a claim upon which

      relief can be granted?


                               STANDARD OF REVIEW

       When considering a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the court

generally must ignore materials outside the pleadings, but it may consider materials that

are part of the public record or do not contradict the complaint, as well as materials that

are necessarily embraced by the pleadings. Porous Media Corp. v. Pall Corp., 186 F.3d

1077, 1079 (8th Cir. 1999); see also Illig v. Union Elec. Co., 652 F.3d 971, 976 (8th Cir.

2011). Accordingly, while courts primarily consider the allegations in the complaint in

determining whether to grant a Rule 12(b)(6) motion, courts additionally consider

“matters incorporated by reference or integral to the claim, items subject to judicial

notice, matters of public record, orders, items appearing in the record of the case, and

exhibits attached to the complaint whose authenticity is unquestioned;” without

converting the motion into one for summary judgment under Rule 12(d). Miller v.

Redwood Toxicology Lab., Inc., 688 F.3d 928, 931 n.3 (8th Cir. 2012) (citing 5B Charles

Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1357 (3d ed. 2004)).


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       The Court must grant a Rule 12(b)(6) motion to dismiss for failure to state a claim

if the plaintiff “cannot prove any set of facts in support of the claim which would entitle

him to relief.” Stone Motor Co. v. General Motors Corp., 293 F.3d 456, 464 (8th Cir.

2002). The Supreme Court has emphasized that even under the liberal pleading standard

of Rule 8, a complaint must contain “enough facts to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). Although a complaint need not contain

“detailed factual allegations,” it must contain facts with enough specificity “to raise a

right to relief above the speculative level.” Iqbal, 129 S. Ct. at 1964-65. "The threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements,"

will not pass muster. Id. at 1949 (citing Twombly, 550 U.S. at 555). Accordingly, a

plaintiff must provide more than labels and conclusions.

       Determining whether a complaint states a plausible claim for relief is a “context-

specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Iqbal, 129 S. Ct. at 1950 (citation omitted). “[W]here the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged – but it has not ‘show[n]’ – ‘that the pleader is entitled to relief.’”

Id. (citing Fed. R. Civ. P. 8(a)(2)). “[T]he pleading standard Rule 8 announces does not

require 'detailed factual allegations,' but it demands more than an unadorned, the-

defendant-unlawfully-harmed-me accusation." Iqbal, 129 S. Ct. at 1949 (quoting

Twombly, 550 U.S. at 555).



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      Courts ordinarily do not consider matters outside the pleadings on a motion to

dismiss. See Fed. R. Civ. P. 12(d). Matters outside the pleadings include “any written or

oral evidence in support of or in opposition to the pleading that provides some

substantiation for and does not merely reiterate what is said in the pleadings.” Gibb v.

Scott, 958 F.2d 814, 816 (8th Cir.1992)(quotations omitted). “[F]acts asserted in the

memoranda [supporting a motion to dismiss] themselves, as well as statements made at

oral argument, may not be considered unless they were first asserted in the

pleadings.” Folger v. City of Minneapolis, 43 F.Supp.3d 922, 930 (D.Minn.2014).

      A court may, however, consider exhibits attached to the complaint, documents that

are necessarily embraced by the pleadings, and public records. Little Gem Life Scis., LLC

v. Orphan Med., Inc., 537 F.3d 913, 916 (8th Cir.2008). “Documents necessarily

embraced by the pleadings include ‘documents whose contents are alleged in

a complaint and whose authenticity no party questions, but which are not physically

attached to the pleading.’ ” Ashanti v. City of Golden Valley, 666 F.3d 1148, 1151 (8th

Cir.2012) (quoting Kushner v. Beverly Enters., Inc., 317 F.3d 820, 831 (8th Cir.2003)).

For instance, the contract upon which a claim rests is necessarily embraced by the

pleadings and may be considered. Gorog v. Best Buy Co., 760 F.3d 787, 791 (8th

Cir.2014). POFM Labor Agreement and the POFM are referenced in specific paragraphs

of the complaint and incorporated by the complaint and the Court should, therefore,

consider them.




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                                       ARGUMENT

       The Complaint should be dismissed because the Complaint does not plead contain

facts with enough specificity “to raise a right to relief above the speculative level.” Iqbal,

129 S. Ct. at 1964-65.      Instead, the complaint contains “threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements." Id. at 1949

(citing Twombly, 550 U.S. at 555). Because the Complaint contains nothing more than

conclusory statements, it does not plead facts with enough specificity and must be

dismissed.

       Plaintiff cannot prove any set of facts in support of the claim which would entitle

him to relief. Plaintiff alleges that he was injured by police officers who used excessive

force on Plaintiff. There is no allegation that Defendant Kroll used any force on Plaintiff,

there is no allegation that Defendant Kroll directed MPD officers to use force on

Plaintiff. In fact, there is no allegation that Defendant Kroll was even on duty as a police

officer or present at the time of the alleged injuries. There is no allegation that Defendant

Kroll had contact with any Defendants prior to the day after Plaintiff sustained his alleged

injuries. The Complaint proves there was not even an opportunity to conspire because the

use of force was in immediate response to Plaintiff’s actions. See ECF Doc. No. 1 ¶¶

157-176. After Plaintiff fired multiple rounds from his assault rifle at Police Officers, the

Complaint alleges that Police Officers immediately stopped, dismounted the van, rapidly

approached Plaintiff, and used force on Plaintiff. Id. There was no opportunity for




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Defendant Kroll to request other Defendants to do any act to Plaintiff. Therefore, no civil

conspiracy was even possible.

         The facts alleged in the Complaint do not allow the court to even infer more than

the mere possibility of misconduct let alone the requirement that “the pleader is entitled

to relief.” Iqbal, 129 S. Ct. at 1950 (citing Fed. R. Civ. P. 8(a)(2)). To survive a motion to

dismiss, the pleading standard in Rule 8 requires more than an “unadorned, the-

defendant-unlawfully-harmed-me accusation." Id 1949 (quoting Twombly, 550 U.S. at

555). Plaintiffs’ Complaint in this case fails to even meet the unacceptable “unadorned,

the defendant-unlawfully-harmed-me accusation.” The Complaint should be dismissed

because it does not contain “enough facts to state a claim to relief that is plausible on its

face.”

         Even assuming arguendo that Plaintiff meets the Rule 8 threshold to survive a

motion to dismiss, the allegations against Defendant Kroll fall squarely within the

constitutional protections of the First Amendment. Plaintiff asks this Court to create a

cause of action under 42 U.S.C. §1983 that creates financial liability for the content of

protected speech.     “When a law burdens such speech, the Court applies ‘exacting

scrutiny,’ upholding the restriction only if it is narrowly tailored to serve an overriding

state interest.” McIntyre v. Ohio Elections Commission, 514 U.S. 334, 334-335 (1995)

citing First Nat. Bank of Boston v. Bellotti, 435 U.S. 765, 786 (1978). The United States

Congress never intended to allow 42 U.S.C. §1983 as a sword to slaughter the First

Amendment. U.S.C.A. Const.Amend. 1. Plaintiff’s twisting of 42 U.S.C. §1983 cannot



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meet any level of scrutiny, let alone the exacting scrutiny required in this content-based

claim. The Complaint against Defendant Kroll should be dismissed.

I.     PLAINTIFF HAS FAILED TO ALLEGE A PLAUSIBLE CLAIM FOR RELIEF AGAINST
       DEFENDANT KROLL.

       Plaintiff’s claims against Defendant Kroll are based entirely upon the actions of

others. Defendant Kroll cannot be held liable for the actions of others, especially those

that he does not directly supervise.

       Defendant Kroll, as the President of the POFM, was not acting under color of state

law. Defendant Kroll’s speech, as President of the POFM, is afforded the highest rung of

First Amendment protection for the content of his speech. Because Defendant Kroll (i)

was not present when Plaintiff allegedly sustained injuries; (ii) was not supervising

Minneapolis Police Department Police Officers at the time of Plaintiff’s alleged injury;

and (iii) is not even alleged to have had contact with Officers who had contact with

Plaintiff, the motion to dismiss should be granted.

       A.     Defendant Kroll is not liable pursuant to 42 U.S.C. §1983 because he
              was not acting under color of law.

       “To state a claim under § 1983, a plaintiff must allege the violation of a

right secured by the Constitution and laws of the United States, and must show that the

alleged deprivation was committed by a person acting under color of state law.” West v.

Atkins, 487 U.S. 42 (1988). “[A] public employee acts under color of law when he

‘[e]xercise[s] power possessed by virtue of state law and made possible only because the

wrongdoer is clothed with the authority of state law.’ ” Johnson v. Phillips, 664 F.3d 232,



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239–40 (8th Cir.2011) (quoting West, 487 U.S. at 49, 108 S.Ct. 2250). “It is firmly

established that a defendant in a § 1983 suit acts under color of state law when he abuses

the position given to him by the State. Thus, generally, a public employee acts under

color of state law while acting in his official capacity or while exercising his

responsibilities pursuant to state law.” Roe v. Humke, 128 F.3d 1213, 1215 (8th

Cir.1997) (internal quotation marks omitted). Mere employment by a state or

municipality does not automatically mean that a defendant's actions are taken under the

color of state law. See Polk County v. Dodson, 454 U.S. 312, 319–20 (1981).

       A defendant is acting under color of state law if he “acts or purports to act in the

performance of official duties, even if he oversteps his authority and misuses

power.” Johnson, 664 F.3d at 240. But “[a]cts of officers in the ambit of their personal

pursuits are plainly excluded” from the scope of § 1983 liability. Dossett, 399 F.3d at 949

(8th Cir.2005) (alteration in original) (quoting Screws v. United States, 325 U.S. 91, 111,

65 S.Ct. 1031, 89 L.Ed. 1495 (1945)).

       To determine whether an official is acting under color of law, the Court “look[s] to

see whether a sufficient nexus exists between the official's public position and the

official's harmful conduct.” Ramirez–Peyro v. Holder, 574 F.3d 893, 900 (8th Cir.2009).

“Absent any actual or purported relationship between the officer's conduct and his duties

as a police officer, the officer cannot be acting under color of state law.” Roe, 128 F.3d at

1216. “In determining whether a sufficient nexus exists in the context of a § 1983 claim

brought against a police officer, the Court considers a number of factors, including



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whether the officer was on duty and in uniform, the motivation for the officer's actions,

whether the officer had access to the plaintiff because of the officer's position, and

whether the officer invoked his status or threatened to use his official authority in the

future. Magee v. Trusttees of Hamline University, Minn., et al. 957 F.Supp. 2d 1047,

1055 (D. Minn. 2013) citing Ramirez–Peyro, 574 F.3d at 901. When acting in the

capacity as a Union President, an employee is not acting under color of law and is,

therefore, not liable pursuant to §1983. See Kern v, City of Rochester, 93 F.3d 38 (2nd Cir.

1996) (Despite Fire Union President receiving full-time pay and benefits from City while

acting as Union President is not a state actor because the position of Union President was

not by virtue of any action by the City.)

       Applying these factors, this Court dismissed a similar suit against Dave Titus, then

the President of the St. Paul Police Federation and a St. Paul Police Officer, Magee, 957

F.Supp. 2d 1047. The plaintiff in Magee alleged that Titus violated her rights when he

published a written response to an editorial written by the plaintiff. Magee, 957 F.Supp.

2d 1047. In his response, Titus identified himself as a St. Paul Police Officer and the

President of the St. Paul Police Federation, questioned Magee's “fitness to teach” and

stated “I hope Professor Magee confines her race baiting and cop-hating to her newspaper

submissions and keeps it out of the classroom.” Id. Titus then contacted Magee’s

employer, Hamline University, allegedly with the intent to have Magee fired in retaliation

for her critical editorial, and organized a boycott of Hamline University to encourage

Hamline to fire Magee. Id.



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       This Court found that those facts were insufficient to show that Titus was acting

under color of state law because Titus was not using his position as a police officer to

influence others, rather he was using his position as St. Paul Police Federation President.

Id. “Mere employment by a state or municipality does not automatically mean that a

defendant's actions are taken under the color of state law.” Id at 1056, quoting Ottman v.

City of Independence, Mo., 341 F.3d 751, 762 (8th Cir.2003).

       The 8th Circuit Court of Appeals affirmed the dismissal. Magee v. Trustees of

Hamline University, Minn. et al., 747 F.3d 532 (8th Cir. 2014). Specifically, the 8th

Circuit held that Titus “was not acting ‘under color of state law’ when he published [the]

editorial” and that the “federation's call for police department to boycott university did

not constitute joint activity with state.” Id.

       Like Titus, the facts alleged in the Complaint prove that Defendant Kroll was not

acting under color of state law when he sent an email to POFM membership because he

was acting as President of POFM. As previously noted, Defendant Kroll worked full time

as the President of the Police Officers Federation of Minneapolis and did not perform law

enforcement duties. See Kelly Aff. Ex. 1, p. 57. Like Titus, Defendant Kroll was not

using his position as a police officer—he was not on duty, not in uniform, and had no

contact with any of the plaintiffs—rather all of his conduct was in the scope of his

position as President of the POFM. Like Magee,

       The POFM is a private party. See Magee v. Trustees of Hamline University,

Minn., et al 747 F.3d 532 (8th Cir. 2014). Labor unions are generally not state actors. See



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Montgomery v. City of Ardmore 365 F.3d 926 (10th Cir. 2004). As President of the

POFM, a private nonprofit corporation, Defendant Kroll acts as a private party. The

complaint makes it clear that all of Defendant Kroll’s actions were in the scope of his

position as the President of POFM and not that of a police officer. There are no

allegations in the Complaint establishing even an inference of a nexus between Defendant

Kroll’s official conduct as a police officer acting under color of law and plaintiff’s

injuries. “[A] clear nexus must exist between the defendant's official conduct and the

violation of the plaintiff's rights.” Ottoman, 347 F.3d at 761-62. Defendant Kroll’s

actions were not “made possible by, or undertaken in, his position as a police officer.

Magee 957 F.Supp.2d at 1057.” Instead, Defendant Kroll’s actions were made possible

and undertaken in his position as President of POFM. Because Defendant Kroll did not

act under color of state law, he is not liable under 42 U.S.C. § 1983 and the complaint

should be dismissed.

       B.     Defendant Kroll did not conspire to violate Plaintiff’s rights

       Plaintiff alleges one claim against Defendant Kroll – Civil Conspiracy. Complaint

p. 67. To prove a § 1983 conspiracy claim, Plaintiff must show “that the defendant

conspired with others to deprive ... her of a constitutional right; that at least one of the

alleged co-conspirators engaged in an overt act in furtherance of the conspiracy; and that

the overt act injured the plaintiff.” Askew v. Millerd, 191 F.3d 953, 957 (8th Cir.1999).

To maintain a § 1983 conspiracy action against Defendant Kroll as a private individual,

Plaintiff must prove that Kroll willfully participated with and reached a mutual



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understanding with state officials concerning the unlawful objective of the

conspiracy. Lawrence v. City of St. Paul, 740 F.Supp2d 1026 (D. Minn. 2010); citing

White v. McKinley, 519 F.3d 806, 816 (8th Cir. 2008) (citing DuBose v. Kelly, 187 F.3d

999, 1003 (8th Cir.1999)). Plaintiff’s complaint, citing nothing beyond legal conclusory

statements, does not, and cannot, allege that Defendant Kroll entered into a mutual

understanding with government officials to deprive this specific plaintiff of his

constitutional rights.

       A conspiracy claim under § 1983 “requires allegations of specific facts tending to

show a ‘meeting of the minds' among the alleged conspirators.” Murray v. Lene, 595 F.3d

868, 870 (8th Cir.2010) (emphasis added) (quoting Kearse v. Moffett, 311 F.3d 891, 892

(8th Cir.2002)). Here, Plaintiff has not alleged any facts, let alone specific facts, to

support a claim that Defendant Kroll requested anyone to do any act to Plaintiff.

Therefore, Defendant Kroll’s motion to dismiss should be granted.

       Plaintiff rests upon summary legal conclusions in his civil conspiracy claim in a

desperate attempt to justify frivolously naming Defendant Kroll in the Complaint.

Plaintiff argues that Defendant Kroll conspired with the City to violate his civil rights.

However, a private actor only acts under color of state law when the private actor “is a

willful participant in joint activity with the State or its agents.” Id citing Adickes v. S.H.

Kress & Co., 398 U.S. 144, 152, 90 S.Ct. 1598, 26 L.Ed.2d 142 (1970). A plaintiff

alleging a conspiracy must allege facts that would permit a reasonable jury to find that

the two reached an agreement to violate the plaintiff's constitutional rights. Plaintiff does



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not allege any facts that, if proven, would permit a reasonable jury to find a civil

conspiracy. Instead, Plaintiff relies exclusively upon conclusory allegations generally

averring the elements of a civil conspiracy.

       As a matter of law, “conclusory allegations are insufficient to state a § 1983

claim.” Id. There are no factual allegations suggesting that Defendant Kroll conspired

with the City or its Police Officers. This Court addressed this very issue when it denied

plaintiff’s motion to amend her complaint to add a claim of civil conspiracy in Magee.

Like the allegations against Defendant Kroll here, the plaintiff in Magee “allege[d]

generally that Titus was able to influence police policy through his position as an officer

and president of the SPPF.” 957 F. Supp. at 1057. Magee alleged that Titus acted in

conspiracy with the Saint Paul Police Department “SPPD, with a meeting of the minds, to

deprive her of constitutionally-guaranteed rights—in particular, that Titus's letter to the

editor identified himself as president of the SPPF and that Titus, through the SPPF,

declared a boycott against Hamline until it took punitive action against Magee; that the

SPPF's boycott resolution urged the SPPD to join the boycott against Hamline and that

“[u]pon information and belief Titus was successful in obtaining assistance from police

officers or the SPPD to boycott Hamline.” Id. at 1071.

       The court denied Magee’s motion to amend her complaint to add this allegation,

finding that “Magee has not alleged facts supporting a conspiracy or meeting of the

minds between the SPPF and any public actors. The Proposed Amended Complaint

contains no factual allegations of a mutual understanding between the SPPF and the



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police department concerning an unlawful objective to violate Magee's constitutional

rights.” Id. (citing White v. McKinley, 519 F.3d 806, 816 (8th Cir. 2008) (emphasis

added). Magee held that the allegation that the SPPF boycott was “effectuated by

numerous public police officers” was insufficient to render her claim against the SPPF

plausible because it failed to “acknowledge the distinction between police officers acting

in their official capacity and in their personal lives.” Id. (citing Lawrence v. City of St.

Paul, 740 F.Supp.2d 1026, 1046 (D. Minn. 2010). Last, Magee held that plaintiff’s

“assertion that Titus acted with sufficient nexus to his police officer status to act under

color of law is a conclusory allegation of law that is not entitled to an assumption of

truth.” Id. (citing Delgado–O'Neil v. City of Minneapolis, No. 08–4924, 2010 WL 330322

(D.Minn. Jan. 20, 2010) aff'd, 435 Fed.Appx. 582 (8th Cir. 2011)). “Because the SPPF is

a private entity not liable under 42 U.S.C. § 1983 and Magee has not alleged facts

supporting her conclusory allegation that defendants acted under “color of law” or that

the SPPF acted in concert with public officials, Magee's proposed Section 1983 claim

against the SPPF could not survive a Rule 12(b)(6) motion to dismiss.” Id.

       Like the plaintiff in Magee, Plaintiff has failed to allege facts that Defendant Kroll

“acted in concert” with the City of Minneapolis or any officer. The general allegation that

Defendant Kroll “influenced’ Department policy” is inadequate as a matter of law. The

sole alleged contact between Defendant Kroll and the other alleged co-conspirators, was

an email after Plaintiff’s alleged injuries. Even if the contact was prior to Plaintiff’s

alleged injuries, there is no allegation that Defendant Kroll requested any act nor any



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allegation that the other alleged co-conspirators reached any mutual agreement. Id at 537

quoting Mershon v. Beasley, 994 F.2d 449 (8th Cir. 1993) (“contacts, by themselves and

without more” do not allow the inference of “any mutual understanding” in a §

1983 action).

       Plaintiff fails to provide evidence or allegation of “a meeting of the minds where

both the Department [or its police officers] and [Kroll] jointly agreed to violate

[Plaintiff’s] constitutional rights.” Magee 957 F.Supp.2d at 1058. Like Magee, Plaintiff’s

complaint contains only vague and general legal conclusions that Defendant Kroll

conspired to violate Plaintiff’s rights, and cannot overcome a motion to dismiss. Id.

citing Farm Credit Servs. of Am. v. Am. State Bank, 339 F.3d 764, 767 (8th

Cir.2003) (holding that courts are “free to ignore legal conclusions, unsupported

conclusions, unwarranted inferences and sweeping legal conclusions cast in the form of

factual allegations”); Kurtz v. City of Shrewsbury, 245 F.3d 753, 758 (8th Cir.

2001) (“Other than the appellant's bare allegations, the record is devoid of any evidence

substantiating a claim of conspiracy”). Put simply, the complaint contains no facts to

support Plaintiff’s claim of civil conspiracy against Defendant Kroll.          “[W]ithout

additional facts, [Plaintiff] has not “‘nudged [his] claims’ of retaliation ‘across the line

from conceivable to plausible.’” Magee 957 F.Supp.2d at 1058, quoting Iqbal, 556 U.S.

at 680, 129 S.Ct. 1937, quoting Twombly, 550 U.S. at 570, 127 S.Ct. 1955.




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       The facts, as alleged, prove that there was no opportunity to conspire between

police officers and Kroll. See Complaint ¶¶162-183. Therefore, the motion to dismiss

should be granted.

       C.     Defendant Kroll was not present nor supervising any Minneapolis
              Police Officers at the time of Plaintiff’s alleged injuries

       As a threshold matter, Plaintiff does not and cannot plead that Defendant Kroll

inflicted harm upon Plaintiff because he was neither present nor working as a Police

Officer at the time of Plaintiff’s alleged injuries. Because there is no allegation that

Defendant Kroll used force against Plaintiffs and because he was not working as an MPD

Lieutenant at the time of Plaintiffs’ alleged injuries, Plaintiffs cannot plead any facts that

Defendant Kroll was supervising employees in the discharge of official duties. The

Supreme Court has ruled that defendants “cannot be held liable unless they themselves

acted on account of a constitutionally protected characteristic.” Iqbal, 556 U.S. 662

(2009).

       Likewise, Plaintiff cannot plead any facts that Defendant Kroll was supervising

employees in the discharge of official duties because he was not working as an MPD

Lieutenant at the time of Plaintiff’s alleged injuries. As a matter of law, Defendant Kroll

cannot be liable for the conduct of a subordinate because “[g]overnment officials may not

be held liable for the unconstitutional conduct of their subordinates under a theory

of respondeat superior.” Id. at 676 (internal citation omitted). “A public officer or agent is

not responsible for the misfeasances or positive wrongs, or for the nonfeasances, or

negligences, or omissions of duty, of the subagents or servants or other persons properly


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employed by or under him, in the discharge of his official duties” Id., quoting Robertson

v. Sichel, 127 U.S. 507, 515-516 (1888).

             1.     No facts have been plead or can be plead to create liability against
                    Defendant Kroll.

      Defendant Kroll is not alleged to have done anything beyond performing his duties

as the President of the POFM. None of his alleged actions included an explicit or even

implicit call for violence against any one or any entity. The remainder of the allegations

are towards other Defendants and Municipal Defendants. There are no facts pled nor any

facts that can be pled to show that Defendant Kroll engaged in any act towards Plaintiff

which creates § 1983 liability to Defendant Kroll. Plaintiff’s claims against Defendant

Kroll do not go beyond mere averments or conclusory statements. Defendant Kroll, in a

one-way exercise of free speech, does not a civil conspiracy make. The Complaint fails to

allege any facts that support any claim against Defendant Kroll and it should be

dismissed.

      Defendant Kroll was not present nor was he supervising anyone who was present

at the time of Plaintiff’s alleged injuries. Because Plaintiff cannot prove any facts that

Defendant Kroll caused Plaintiff’s injuries, the claim against him must be dismissed,

II.   Defendant Kroll’s speech is protected by the First Amendment of the United
      States Constitution

      “The general proposition that freedom of expression upon public questions is

secured by the First Amendment has long been settled” by the Supreme Court. New York

Times Co. v. Sullivan, 376 U.S. 254, 269 (1964) quoting Roth v. United States, 354 U.S.



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476, 484 (1957). This constitutional safeguard, “‘was fashioned to assure unfettered

interchange of ideas for the bringing about of political and social changes desired by the

people.’” New York Times Co. v. Sullivan, 376 U.S. 254, 269 (1964) quoting Roth v.

United States, 354 U.S. 476, 484 (1957). The Supreme Court has expressly held that

“debate on public issues should be uninhibited, robust, and wide-open, and that it may

well include vehement, caustic, and sometimes unpleasantly sharp attacks on government

and public officials. Id at 270-271 citing Terminiello v. Chicago, 337 U.S. 1 (1949)

and De Jonge v. Oregon, 299 U.S. 353, 365 (1937).

       As the President of the POFM, Defendant Kroll was an outspoken advocate for the

union and its members. The letter referenced in the Complaint was sent by Defendant

Kroll, as POFM President directly to POFM members. ECF Doc. No. 1, ¶385. The letter

speaks for itself. Unlike Titus, who advocated for SPPD police officers to boycott

Hamline University, Defendant Kroll did not advocate for officers to harm protesters or

members of the media. Defendant Kroll simply voiced his support for POFM members in

the face of ongoing protests and riots following the death of George Floyd—clearly a

matter of significant public concern.

       As a private citizen and elected President of a Union, Defendant Kroll’s speech is

highly protected by the First Amendment of the United States Constitution. Speech on

matters of public concern is at the heart of the First Amendment's protection. Snyder v.

Phelps, 562 U.S. 443 (2011). Unions can also speak out on controversial subjects

including “climate change, the Confederacy, sexual orientation and gender identity,



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evolution, and minority religions.” Janus, 138 S.Ct. at 2466. “These are sensitive political

topics, and they are undoubtedly matters of profound ‘value and concern to the public.’

Id. quoting Snyder, 562 U.S. at 453. When Unions engage in such speech, it “occupies

the highest rung of the hierarchy of First Amendment values” and merits “special

protection.” Janus 138 S.Ct. 2448 quoting Snyder, 562 U.S. 443, 452 (2011) (emphasis

added).

       Here, like Janus, “the union speech at issue in this case is overwhelmingly of

substantial public concern.” 138 S.Ct. at 2447. Likewise, Defendant Kroll’s commentary

about the hard work that the members of POFM engaged in, which went unrecognized by

elected officials in the City of Minneapolis, was, and is, of substantial public concern.

Additionally, Defendant Kroll’s protected speech referenced in paragraph 41 of the

complaint regarded Police Officer use of force incidents and the rise in Police Officers’

Post Traumatic Stress Disorder diagnoses in general. Both use of force and PTSD are of

substantial public concern.

       As Defendant Kroll’s speech was not on behalf of the City of Minneapolis or the

Minneapolis Police Department. “[I]f the union's speech is really the employer's speech,

then the employer could dictate what the union says. Unions, we trust, would be appalled

by such a suggestion.”        Janus v. American Federation of State, County, and Mun.

Employees, Council 31 138 S.Ct. 2448, 2475 (2018).

       Plaintiff does not allege nor can he reasonably allege that Defendant Kroll’s

speech falls within one of the extremely narrow exceptions to First Amendment



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protection such as defamation or incitement to violence. To summarize Plaintiff’s claim

against Defendant Kroll: he doesn’t like him or what he says. Disliking an individual

does not create a valid cause of action. The First Amendment was enacted to expressly

protect an individual’s speech and is designed to preclude lawsuits such as this one. The

constitutional protection does not turn upon ‘the truth, popularity, or social utility of the

ideas and beliefs which are offered.’ N.A.A.C.P. v. Button, 371 U.S. 415, 445 (1963).

The speech in which Defendant Kroll engaged in, “the advocacy of a politically

controversial viewpoint-is the essence of First Amendment expression.” McIntyre v. Ohio

Elections Commission, 514 U.S. 334, 347 (1995) citing International Soc. for Krishna

Consciousness, Inc. v. Lee, 505 U.S. 672, (1992); Lovell v. City of Griffin, 303 U.S. 444,

(1938). Like McIntyre, the speech took place during a time with controversial actions by

rioters in response to actions of POFM’s members which “only strengthens the protection

afforded to [Defendant Kroll’s] expression: Urgent, important, and effective speech can

be no less protected than impotent speech, lest the right to speak be relegated to those

instances when it is least needed.” Id citing Terminiello v. Chicago, 337 U.S. 1, 4, (1949).

       The Supreme Court has rejected similar lawsuits. Plaintiff asks this Court to

create “a form of regulation that creates hazards to protected freedoms markedly greater

than those that attend reliance upon the criminal law.” New York Times, 376 U.S. at 278,

quoting Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70 (1963). “The fear of damage

awards under a rule such as that invoked by the [Plaintiff] here may be markedly more




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inhibiting than the fear of prosecution under a criminal statute.” New York Times, 376

U.S. at 277 citing City of Chicago v. Tribune Co., 139 N.E. 86, 90 (Ill. 1923).

       To allow this case to move forward would have a significant chilling effect on

Unions’ and its elected union officials to engage in speech on matters of public concern.

It would decimate the protections of the First Amendment and create a deluge in

litigation based solely on the content of a Defendant’s speech. Plaintiff has not cited to

any Court that has interpreted 42 U.S.C. §1983 to create liability based upon the content

of a Defendant’s speech. Such a claim turns the First Amendment upon its head.

       The case against Defendant Kroll should be dismissed.

                                     CONCLUSION

       Plaintiff’s claims against Defendant Kroll do not withstand any level of scrutiny.

In order to survive, Plaintiff must prove that 42 U.S.C. §1983 creates a content-based

restriction that will somehow survive an exacting scrutiny analysis.          However, the

Supreme Court has recognized Union speech on matters of public concern receive the

highest level of protection. Janus 138 S.Ct. 2448 quoting Snyder, 562 U.S. 443, 452

(2011).

       Plaintiff’s allegation against Defendant Kroll is based upon his dislike of, or

disagreement with, the content of his speech. To allow such a claim to go forward would

destroy the fundamental protections of the First Amendment. The Complaint does not

allege that Defendant Kroll was present at the time of Plaintiff’s alleged injury nor that he

held any role in law enforcement at the time of Plaintiff’s alleged injury. Because



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Plaintiff’s claims against Defendant Kroll lack any factual basis, they should be

dismissed.




Dated: December 28, 2021                KELLY & LEMMONS, P.A.


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